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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 LUCASYS INC.,

        Plaintiff,                                  Civil Action File

  v.                                                No.: 1:20-cv-2987-AT

  POWERPLAN, INC.,

        Defendant.

        NOTICE OF LEAVE OF ABSENCE FOR JASON S. ALLOY

       COMES NOW Jason S. Alloy, attorney for Plaintiff, respectfully notifies

this Court, counsel of record and all judges of the following Leave of Absence

from the practice of law for out-of-state travel on the following dates:

       • October 11, 14 and 18, 2024;
       • November 26-29, 2024;
       • December 23-27, 2024;
       • December 30, 2024 – January 3, 2025;
       • January 6, 2025;
       • February 28, 2025; and
       • March 3-7, 2025.

       All affected Judges and Opposing Counsel shall have ten (10) days

from the date of this Notice of Leave of Absence to object to it. If no

objections are filed, the leave shall be granted.
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Respectfully submitted this 2nd day of October, 2024.

                         /s/ Jason S. Alloy
                         Richard L. Robbins
                         Georgia Bar No. 608030
                         rrobbins@robbinsfirm.com
                         Jason S. Alloy
                         Georgia Bar No. 013188
                         jalloy@robbinsfirm.com
                         Joshua A. Mayes
                         Georgia Bar No. 143107
                         jmayes@robbinsfirm.com
                         Rachel F. Gage
                         Georgia Bar No. 547982
                         Evan C. Dunn
                         Georgia Bar No. 535202
                         edunn@robbinsfirm.com
                         Robbins Alloy Belinfante Littlefield LLC
                         500 14th Street, N.W.
                         Atlanta, Georgia 30318
                         (678) 701-9381
                         (404) 856-3255 (fax)

                         Aaron Gott (admitted pro hac vice)
                         aaron.gott@bonalawpc.com
                         Bona Law PC
                         15 South 9th Street, Suite 239
                         Minneapolis, Minnesota 55402
                         (612) 284-5001
                         Jarod Bona (admitted pro hac vice)
                         jarod.bona@bonalawpc.com
                         Jon Cieslak (admitted pro hac vice)
                         jon.cieslak@bonalawpc.com
                         Bona Law PC
                         4275 Executive Square, Suite 200
                         La Jolla, California 92037
                         (858) 964-4589
                         (858) 964-2301 (fax)

                         Counsel for Plaintiff Lucasys Inc.

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                        CERTIFICATE OF SERVICE

      I hereby certify that on this day, I electronically filed the foregoing NOTICE

OF LEAVE OF ABSENCE FOR JASON S. ALLOY with the Clerk of Court

using the CM/ECF system which will send email notification of such filing to all

attorneys of record.

      This 2nd day of October, 2024.

                                       /s/ Jason S. Alloy
                                       Jason S. Alloy
